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                                                                      November 6, 2020



        VIA E.C.F.
        Honorable Mary K. Vyskocil
        United States District Judge
        United States District Court                       11/9/2020
        Southern District of New York
        500 Pearl Street
        New York, New York 10007

                 RE:      Cristina Winsor v. City of New York,
                          19 Civ. 6462 (MKV)


        Your Honor:

                       I am a Senior Counsel in the Special Federal Litigation Division of the New York
        City Law Department and the attorney assigned to represent defendants City of New York and
        Police Officers Regina Vazquez and Christopher Mulvey (collectively, “Defendants”) in the
        above referenced action. The parties file this joint letter to respectfully request that the Court
        provide the parties with an additional week within which the parties may: (1) file a Proposed
        Judgement incorporating the $20,001 required by operation of Rule 68 as well as an agreed-upon
        amount of attorney’s fees, expenses, and costs; or, if the parties cannot successfully agree on a
        single Proposed Judgment, (2) file a Proposed Judgment to cover the $20,001 required by
        operation of Rule 68 and Plaintiff may make an application to the Court to fix the Plaintiff’s
        attorney’s fees, expenses, and costs. This is the second joint application concerning this request.
        (See E.C.F. Nos. 36 and 37.)

                       On October 9, 2020, the parties requested an extension of time to continue with
        one out of the two proposed coursed of action concerning the Plaintiff’s acceptance of the
        Defendants’ Rule 68 Offer of Judgement by November 12, 2020. (E.C.F. No. 36.) The Court
        granted said request. (E.C.F. No. 37.)
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               The parties are engaging in good faith negotiations. Plaintiff’s counsel has
recently disclosed timesheets to Defendants; Defendants require an additional week to asses
them. Accordingly, the parties respectfully request a one-week extension of time, from
November 12, 2020, to November 19, 2020, wherein the parties may follow one of the two
proposed courses of action stated in this letter.

             Thank you for your attention to this matter.

                                                   Respectfully submitted,

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                                                   Jorge M. Marquez
                                                   Senior Counsel
                                                   Special Federal Litigation Division

cc:   VIA E.C.F.
      All counsel of record




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